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                14                                        UNITED STATES DISTRICT COURT
                                                               DISTRICT OF NEVADA
                15
                             FEDERAL HOUSING FINANCE AGENCY,                    CASE NO. 2:15-cv-02381-GMN-NJK
                16           in its capacity as Conservator of Federal
                             National Mortgage Association and Federal
                17           Home Loan Mortgage Corporation; FEDERAL            PLAINTIFFS’ OPPOSITION TO
                             NATIONAL MORTGAGE ASSOCIATION;                     DEFENDANT’S MOTION FOR
                18           and FEDERAL HOME LOAN MORTGAGE                     RECONSIDERATION
                             CORPORATION,
                19                                  Plaintiffs,
                                      vs.
                20

                21           SFR INVESTMENTS POOL 1, LLC, a
                             Nevada Domestic Limited Liability Company,
                22
                                                      Defendants.
                23

                24                                                   INTRODUCTION

                25                    The district-court phase of this case ended months ago; the action is now with the Ninth

                26           Circuit on SFR’s appeal.1 Yet SFR asks this Court to interrupt that appeal and reverse itself on

                27       1
                                  Any capitalized terms not defined in this brief are defined in Plaintiffs’ Motion for
                28           Summary Judgment (ECF No. 66).
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                1        an issue SFR can and should simply present in the appeal—whether the existing record
                2        warranted summary judgment without further need for discovery. Neither extraordinary
                3        circumstances nor good cause supports SFR’s motion for reconsideration, and regardless, this
                4        Court’s summary judgment ruling was thoughtfully considered and entirely correct. The Court
                5        should deny SFR’s motion.
                6                 SFR has a strong economic incentive to pursue pointless discovery and to otherwise
                7        prolong the litigation so that it can collect extra months of rent until the Ninth Circuit finally
                8        resolves this case. The most efficient way to move this case to final resolution is to deny SFR’s
                9        Motion for Reconsideration and let this matter proceed to a decision by the Ninth Circuit. The
              10         Ninth Circuit is familiar with Federal Foreclosure Bar litigation and has already affirmed a
              11         decision from this Court that rejected a Rule 56(d) request for more discovery. If the Ninth
              12         Circuit likewise affirms this Court’s order, then all the courts in this District will receive on-point
              13         guidance sooner that Rule 56(d) relief is unnecessary in cases like this.2 But if this Court issues
              14         an indicative ruling to grant Rule 56(d) relief, then the Ninth Circuit’s final resolution of these
              15         cases, which backlog the federal courts in Nevada, could easily be delayed.
              16                                  BACKGROUND AND PROCEDURAL HISTORY
              17                  This case is a quiet title action concerning 83 properties. The facts about each property
              18         are materially the same: for each property, a borrower obtained a loan that was eventually
              19         acquired by one of the Enterprises. (ECF No. 127). Each property was also subject to a
              20         foreclosure sale initiated by an HOA to recoup overdue assessments; at the time of each HOA
              21         Sale, the Enterprise continued to own each Loan, with one of two types of entities appearing as
              22         record beneficiary of the associated deed of trust: (1) the Enterprise’s contractually authorized
              23         servicer; or (2) MERS, as nominee for the Enterprises. (Id.)
              24                  This case was subject to a complete stay that was lifted on July 17, 2018, when the Court
              25         entered the parties’ stipulated scheduling order in which Plaintiffs informed SFR that they
              26
                         2
              27                 As explained infra, the Ninth Circuit has already affirmed an award of summary
                         judgment that included a denied Rule 56(d) motion. But parties like SFR appear unpersuaded
              28         until the Ninth Circuit directly—and in no uncertain terms—rejects their meritless arguments.
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                1        intended to file a Motion for Summary Judgment and a Motion to Stay Discovery. (ECF No.
                2        56.) During the subsequent two months, the Enterprises made initial disclosures and produced
                3        Enterprise business records and publicly recorded documents. SFR did not seek any depositions
                4        or issue any interrogatories. Then, on September 18, 2018, Plaintiffs filed a motion for summary
                5        judgment. (ECF No. 66). On September 21, 2018, Plaintiffs also filed a motion to stay
                6        discovery pending adjudication of their summary judgment motion, (ECF No. 70).
                7                 Not until December 4, 2018, did SFR serve notices of Rule 30(b)(6) depositions on
                8        Fannie Mae and Freddie Mac. (ECF No. 100-1). Thus, SFR did not seek a deposition until more
                9        than four months after Plaintiffs informed SFR that they intended to move for summary
              10         judgment, and over two months after Plaintiffs filed their Motion for Summary Judgment.
              11                  Following motions practice with regard to various discovery disputes, Magistrate Judge
              12         Koppe stayed all discovery “on an interim basis pending resolution of the pending motion to stay
              13         discovery.” (ECF No. 114.) On February 6, 2019, SFR filed its Opposition to Plaintiffs’ Motion
              14         for Summary Judgment and a Counter-Motion for Rule 56(d) Relief. (ECF Nos. 115, 116.) And
              15         in each of SFR’s discovery-related filings, it made substantially the same arguments it makes
              16         here.
              17                  On March 30, 2019, this Court granted Plaintiffs’ Motion for Summary Judgment,
              18         finding that Plaintiffs’ evidence—in the form of business records, a supporting declaration, and
              19         the Guide—was evidence “deemed sufficient” by the Ninth Circuit to prove that the Enterprises
              20         owned each loan. (ECF No. 127 at 7-8.). This evidentiary finding is substantially supported by
              21         Ninth Circuit authority. As a result, this Court rejected SFR’s Rule 56(d) request because the
              22         Ninth Circuit “has explicitly rejected” each of the arguments SFR made to challenge Plaintiffs’
              23         evidence and the clerk entered judgment the next day. (ECF Nos. 127, 128).
              24                  On April 29, 2019, SFR timely appealed, thereby transferring jurisdiction over this
              25         matter to the Ninth Circuit. In that appeal, SFR has contended in its Ninth Circuit mediation
              26         questionnaire that “it was an abuse of discretion [for this Court] to reject its Rule 56(d) request.”
              27         Notice of Appeal Fed. Hous. Fin. Agency v. SFR Invs. Pool 1, LLC, No. 19-15910, ECF No. 2
              28         (9th Cir. May 7, 2019).
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                1                                               LEGAL STANDARD
                2        I.       This Court’s Jurisdiction During Pendency of an Appeal
                3                 “Once a notice of appeal is filed, the district court is divested of jurisdiction over the
                4        matters being appealed.” Nat. Res. Def. Council, Inc. v. Southwest Marine Inc., 242 F.3d 1163,
                5        1166 (9th Cir. 2001). However, Rule 62.1 allows a district court to take certain, limited actions
                6        in response to motions filed during the pendency of an appeal. Fed. R. Civ. P. 62.1. Under this
                7        rule, a district court that lacks jurisdiction to grant the moved-for relief because of a pending
                8        appeal may (1) defer considering the motion; (2) deny the motion; or (3) state either that it would
                9        grant the motion if the court of appeals remands for that purpose or that the motion raises a
              10         substantial issue. Id. 62.1(a).
              11         II.      Motion for Reconsideration
              12                  Under Rule 60(b), a court may relieve a party from a final judgment, order, or proceeding
              13         only in the following circumstances: (1) mistake, inadvertence, surprise, or excusable neglect;
              14         (2) newly discovered evidence; (3) fraud; (4) the judgment is void; (5) the judgment has been
              15         satisfied; or (6) any other reason justifying relief from the judgment. Fed. R. Civ. P. 60(b); see
              16         also De Saracho v. Custom Food Mach., Inc., 206 F.3d 874, 880 (9th Cir. 2000). However, a
              17         court may only grant Rule 60(b) relief in “extraordinary circumstances.” Buck v. Davis, 137 S.
              18         Ct. 759, 777 (2017).
              19                  While disposition of a motion for reconsideration is within the district court’s discretion,
              20         Bliesner v. Commc’n Workers of Am., 464 F.3d 910, 915 (9th Cir. 2006), that motion is properly
              21         denied when the movant fails to establish any reason justifying relief. Backlund v. Barnhart, 778
              22         F.2d 1386, 1388 (9th Cir.1985) (holding that a district court properly denied a motion for
              23         reconsideration in which the plaintiff presented no arguments that were not already raised in his
              24         original motion). Reconsideration is not a mechanism for parties to make new arguments that
              25         could reasonably have been raised in their original briefs. see Kona Enters. v. Estate of
              26         Bishop, 229 F.3d 877, 890 (9th Cir. 2000).
              27         ///
              28         ///
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                1        III.      Rule 56(d) Relief
                2                  When considering a party’s Rule 56(d) request for discovery, the Ninth Circuit asks a
                3        district court to consider four factors: (1) whether the movant had sufficient opportunity to
                4        conduct discovery; (2) whether the movant was diligent; (3) whether the information sought is
                5        based on mere speculation; and (4) whether allowing additional discovery would preclude
                6        summary judgment. See Martinez v. Columbia Sportswear USA Corp., 533 F. App’x 760, 761
                7        (9th Cir. 2014) (citing Qualls By and Through Qualls v. Blue Cross of Calif., Inc., 22 F.3d 839,
                8        844 (9th Cir. 1994); Pfingston v. Ronan Eng’g Co., 284 F.3d 999, 1005 (9th Cir. 2002);
                9        Nordstrom, Inc. v. Chubb & Son, Inc., 54 F.3d 1424, 1436-37 (9th Cir. 1995); Michelman v.
              10         Lincoln Nat. Life Ins. Co., 685 F.3d 887, 892 (9th Cir. 2012)). To prevail on its Rule 56(d)
              11         request, a party must show that “(1) it has set forth in affidavit form the specific facts it hopes to
              12         elicit from further discovery; (2) the facts sought exist; and (3) the sought-after facts are essential
              13         to oppose summary judgment.” Midbrook Flowerbulbs Holland B.V. v. Holland Am. Bulb
              14         Farms, Inc., 874 F.3d 604, 619-20 (9th Cir. 2017).
              15                                                      ARGUMENT
              16                I. SFR Has Failed to Meet Its Burden for Reconsideration
              17                   SFR’s Motion for Reconsideration merely rehashes its arguments previously made and
              18         rejected by this Court. For this reason alone, this Court should reject SFR’s Motion for
              19         Reconsideration. Kona Enters., 229 F.3d at 890. But this Court should also deny SFR’s motion
              20         because SFR does not raise any new law, new facts, or other “extraordinary circumstances” that
              21         could otherwise justify Rule 60(b) relief.
              22                   Instead, SFR’s sole theory supporting its Motion for Reconsideration is reference to a
              23         single instance in which this Court granted limited and discretionary Rule 56(d) relief in similar
              24         litigation. See ECF No. 132 at 6-7 (citing Fannie Mae v. SFR Invs. Pool 1, LLC, No. 2:18-cv-
              25         001584-GMN, 2019 WL 2176918, at *4-5 (D. Nev. May 20, 2019) (McCloud)).3 But the
              26
                         3
              27                McCloud refers to the last name of the borrower in that case. Using the last name of
                         borrowers is an effective method to distinguish the hundreds of HOA foreclosure cases that
              28         otherwise have identical parties.
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                1        McCloud order is an outlier among the vast majority of decisions in this District that deny Rule
                2        56(d) relief because the Ninth Circuit repeatedly deems evidence materially identical to that in
                3        the record as “sufficient” to establish an Enterprise’s property interest. Indeed, the Ninth Circuit
                4        affirmed an order granting summary judgment that also rejected a Rule 56(d) request. Elmer v.
                5        JPMorgan Chase Bank, NA, 707 F. App’x 426, 428 (9th Cir. 2017). And in Elmer, the Ninth
                6        Circuit described Enterprise business records as “reliable and uncontroverted,” indicating that the
                7        accuracy of Enterprise business records could not be contradicted and therefore implicitly
                8        recognized that the appellant’s Rule 56(d) request was pointless. Accordingly, this Court need
                9        not have granted Rule 56(d) relief in McCloud.
              10                  In any event, the circumstances of this case differ materially from those underlying
              11         McCloud. In that case, the plaintiff filed a motion for summary judgment less than three months
              12         after filing the complaint. The Court relied upon this “pre-discovery” posture as the primary
              13         reason to grant relief, McCloud, 2019 WL 2176918, at *5. Here, in contrast, SFR received
              14         discovery, including all of the business records that Plaintiffs produced in response to SFR’s
              15         Requests for Production. Next, the McCloud decision was a discretionary order that cannot
              16         constitute new or controlling authority on any issues in this case. And unlike this Court’s
              17         decision in this case, the McCloud decision did not conduct any analysis of the business record
              18         evidence supporting that plaintiff’s summary judgment motion. Here however, this Court
              19         conducted a full evidentiary review of the business records supported by employee declarations
              20         and concluded that SFR’s evidentiary arguments failed in light of Ninth Circuit authority. (ECF
              21         No. 127 at 7-8). Consequently, this Court correctly concluded that there was no basis to grant
              22         Rule 56(d) relief. Finally, the McCloud Court’s conclusion that Fannie Mae’s business record
              23         evidence “does not . . . constitute[] irrebuttable proof” of Fannie Mae’s ownership of that loan
              24         was contrary to Ninth Circuit authority explaining the basis of the business records exception of
              25         the hearsay rule. Specifically, the Ninth Circuit stated that the “basis for the business record
              26         exception is that accuracy is assured” because businesses rely on those records to conduct their
              27         daily activities. City of Long Beach v. Standard Oil Co. of California, 46 F.3d 929, 937 (9th Cir.
              28         1995) (emphasis added). Yet here, SFR has not offered any argument or pointed to any evidence
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                1        from its long history of litigating Federal Foreclosure Bar cases that there are any indicia of
                2        unreliability with the Enterprise business records supporting Plaintiffs’ motion for summary
                3        judgment. For example, SFR has never identified any internal inconsistencies, omissions, or
                4        unexplainable anomalies in the material sections of the business records, and has not pointed to
                5        any contradictory evidence that might question the assured accuracy of Enterprise business
                6        records as to whether the Enterprise owned a loan. Indeed, as explained below, SFR’s purported
                7        inconsistencies are irrelevant to any material fact. Consequently, any intended discovery by SFR
                8        would constitute a pointless fishing expedition, while buying SFR more time to collect rental
                9        income from the properties at issue.
              10                  In light of the prevailing Ninth Circuit rulings on the sufficiency of evidence in Federal
              11         Foreclosure Bar litigation—and the Ninth Circuit’s affirmance of a summary judgment granted
              12         over a Rule 56(d) objection in Elmer—courts in this District routinely deny Rule 56(d) requests.
              13         Most recently, one court issued a reasoned opinion denying a Rule 56(d) request by SFR,
              14         holding that evidence materially identical to that in the record here has “repeatedly been found as
              15         sufficient evidence establishing [an Enterprise’s] property interest for purposes of the Federal
              16         Foreclosure Bar.” Order, Bank of Amer., N.A. v. SFR Invs. Pool 1, LLC, No. 2:16-cv-2768-
              17         MMD, ECF No. 130 (D. Nev. June 4, 2019). As a result, the court reasoned that “no further
              18         discovery is warranted.” Id.; see also M&T Bank v. SFR Invs. Pool 1, LLC, No. 2:17-cv-1867-
              19         JCM-CWH, 2018 WL 6003854, at *3 (D. Nev. Nov. 15, 2018).
              20                  SFR has no sound reason to expect this case to be any different from those seven Ninth
              21         Circuit opinions—SFR is uniquely familiar with the reliability of Enterprise business records and
              22         has already deposed Enterprise witnesses repeatedly. See Berezovsky v. Moniz, 869 F.3d 923,
              23         929 (9th Cir. 2017); FHFA v. SFR Invs. Pool 1, LLC, 893 F.3d 1136, 1149 (9th Cir. 2018), cert.
              24         denied, No. 18-760, 2019 WL 1886041 (Apr. 29, 2019); Saticoy Bay, LLC, Series 2714
              25         Snapdragon v. Flagstar Bank, FSB, 699 F. App’x 658 (9th Cir. 2017); Elmer, 707 F. App’x at
              26         428; Williston Inv. Grp., LLC v. JPMorgan Chase Bank, NA, 736 F. App’x 168, 169 (9th Cir.
              27         2018); G&P Invs. Enters., LLC v. Barney, 740 F. App’x 563, 564 (9th Cir. 2018); JPMorgan
              28         Chase Bank, NA v. Las Vegas Dev. Grp., 740 F. App’x 153, 154 (9th Cir. 2018). Thus, SFR’s
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                1        complaint that Plaintiffs “dumped thousands of documents—mainly consisting of [business
                2        records] . . . on SFR’s proverbial doorstep,” (ECF No. 132 at 2), just before filing the Motion for
                3        Summary Judgment is a red herring meant to convince this Court that SFR never had an
                4        opportunity to understand or investigate the evidence.4 That’s untrue. SFR was not prejudiced
                5        or at a disadvantage due to the timing of Plaintiffs’ production of business records and the filing
                6        of the Motion for Summary Judgment, for at least two reasons. First, as frequent repeat players,
                7        SFR and its counsel are familiar with the format and content of the Enterprise business records at
                8        issue in this case and others like it. Second, SFR in substance granted itself a four-month
                9        extension of its deadline to respond to Plaintiffs’ summary-judgment motion, thereby taking for
              10         itself more than ample time to analyze the supporting evidence. (See ECF No. 84 (SFR’s
              11         October 14, 2018 motion to extend the time to respond to Plaintiff’s Motion for Summary
              12         Judgment); ECF No. 95 (Plaintiffs’ opposition to SFR’s motion to extend time); ECF No. 115
              13         (SFR’s February 6, 2019 response to Plaintiff’s Motion for Summary Judgment)). Notably, SFR
              14         never received the Court’s permission to file such a late response to the Motion for Summary
              15         Judgment.
              16                  Consequently, the miniscule probative value of the discovery SFR seeks does not warrant
              17         the cost and burden of preparing and making available a witness to testify about numerous
              18         properties. But the imbalance between benefit and burden is of no concern to SFR, which has a
              19         strong economic incentive to pursue pointless discovery and to otherwise prolong the litigation
              20         regardless of the disparity. SFR bought the properties for far less than fair market value, but now
              21         collects rent at market rates. Until the cost of litigation consumes the entire spread, SFR has an
              22         obvious incentive to do whatever it can to forestall affirmance of this Court’s judgment. By
              23         contrast, the Enterprises receive no return on their substantially larger, market investment in the
              24
                         4
                                 SFR also makes the accusation that Plaintiffs “outright refused to provide SFR access to
              25         any documents listed in their July 30, 2018 initial disclosures.” (ECF No. 132 at 2). This is
                         obviously false; those are the documents Plaintiffs produced to SFR in response to its discovery
              26         request and attached to the MSJ they filed only a few weeks after the discovery conference. In
                         any event, SFR misinterprets Rule 26(a)(1), which expressly authorized Plaintiffs to include in
              27         their initial disclosures “a description by category and location—of all documents . . . that the
                         disclosing party . . . may use to support its claims” in lieu of producing documents at the outset.
              28         Fed. R. Civ. P. 26(a)(1)(A)(ii).
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                1        now-defaulted loans secured by the properties. In substance, therefore, until this case is finally
                2        resolved SFR will reap a return on the Enterprises’ investment; it therefore has a strong incentive
                3        to stave off final resolution, perhaps by seeking to short-circuit its pending appeal by procuring a
                4        premature and unnecessary remand that could lead only to lengthy and unproductive discovery.
                5            II. SFR Has Failed to Meet Its Burden for Rule 56(d) Relief
                6                 This Court should deny Rule 56(d) relief even if it believes SFR has carried its
                7        “extraordinary circumstances” burden for reconsideration under Rule 60(b). Buck, 137 S. Ct. at
                8        777. Rule 56(d) requires the moving party to articulate specific facts that discovery would elicit
                9        and that would preclude summary judgment by creating a genuine dispute about a material fact.
              10         While a court may believe Rule 56(d) is warranted in some scenarios, this is not one of them.
              11         SFR has not and cannot identify any fact it wishes to investigate that could preclude or alter this
              12         Court’s order awarding summary judgment in favor of Plaintiffs.
              13                  To warrant Rule 56(d) relief, a party carries the burden to show that the sought-after facts
              14         are essential to oppose summary judgment.” Midbrook, 874 F.3d at 619-20. Yet here, SFR only
              15         seeks depositions with regarding to three topics: (1) why “the beneficiaries of the deeds of trust
              16         [do] not even match up with the entity Plaintiffs claimed were acting as their servicers during the
              17         relevant time periods,” (ECF No. 132 at 2-3); (2) why “several deeds of trust were never
              18         assigned and still listed Mortgage Electronic Registration Systems, Inc. (“MERS”) as the
              19         nominee beneficiary (id. at 3); and (3) why Taylor Bean & Whitaker Mortgage Corp.’s (“TBW”)
              20         appearance as a servicer in Freddie Mac’s business records might create a dispute of material
              21         fact. (id.).
              22                  For the reasons below, SFR has not explained how any of these facts are essential to
              23         oppose summary judgment. Rather, Defendant’s strategy is to engage in a costly fishing
              24         expedition in the hopes of casting doubt on the evidence produced by Plaintiffs. But the
              25         nonmoving party must show “more than ‘metaphysical doubt as to the material facts.’”
              26         Berezovsky, 869 F.3d at 933 (quoting Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574,
              27         586 (1986)). Accordingly, this Court should reject Defendant’s attempt at seeking unnecessary,
              28         irrelevant, and duplicative discovery. See, e.g., M&T Bank, 2018 WL 6003854, at *3 (denying
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                1         Rule 56(d) relief in Federal Foreclosure Bar litigation). Rule 56(d) relief is unwarranted here.
                2                            i.    SFR Has Had an Opportunity to Conduct Discovery
                3                  The first factor a court looks to in order to determine whether to grant Rule 56(d) relief is
                4         whether the moving party had an opportunity to conduct discovery. Martinez, 533 F. App’x at
                5         761 (citing Qualls., 22 F.3d at 844).
                6                  SFR has unquestionably had a sufficient opportunity to conduct discovery. In this case,
                7         as SFR concedes, it received initial disclosures and Plaintiffs’ production of documents in
                8         response to SFR’s “Requests for Production and Interrogatories.” (See ECF No. 116 at 27.)
                9         SFR had the opportunity to review Plaintiffs’ evidence over the course of four months before
              10          responding to Plaintiffs’ Motion for Summary Judgement. Indeed, after reviewing Plaintiffs’
              11          documents, SFR itself moved for summary judgment, thereby indicating its belief that it could
              12          win without additional discovery. (See ECF No. 117.) Thus, this Court should view SFR’s
              13          request for additional discovery with suspicion because SFR’s decision to file its own summary
              14          judgment motion illustrates its belief that no discovery was warranted.
              15                   Nor should this Court ignore SFR’s familiarity with Enterprise business records and their
              16          corporate practices. It would be one thing if SFR never had an opportunity to test its theories
              17          against Enterprise evidence. But that is not the case; SFR has examined Fannie Mae and Freddie
              18          Mac witnesses in at least 16 trials or depositions in cases presenting materially the same legal
              19          issues and Enterprise business records:
              20
                                  SFR deposed another Fannie Mae employee, Eric Maltese, regarding the same topics in
              21                   February 2018 for SFR Invs. Pool 1, LLC v. Fannie Mae, No. A-14-706235-C;
              22                  SFR questioned Mr. Maltese at trial in April 2018 in SFR Invs. Pool 1, LLC v. Fannie
                                   Mae, No. A-13-678094-C;
              23
                                  SFR deposed Mr. Maltese again in Alessi & Koenig LLC v. Clapp, A-15-713687-C on
              24                   May 22, 2018;
              25                  SFR once again deposed Mr. Maltese in May 2018 in Fannie Mae v. SFR Invs. Pool 1,
                                   LLC, No. A-13-685602-C.;
              26
                                  SFR against deposed Mr. Maltese in July 2018 in SFR Invs. Pool 1, LLC v. Ditech
              27                   Financial LLC, No. 1-14-695848-C;
              28
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                1                 SFR deposed Mr. Maltese again in August 2018 in Green Tree Servicing LLC v. SFR
                                   Invs. Pool 1, LLC, No. A-15-722155-C.;
                2
                                  SFR again questioned Mr. Maltese at trial in September 2018 in Alessi & Koenig LLC v.
                3                  Weiss, No. A-13-690490-C;
                4                 SFR also deposed Mr. Maltese in September 2018 in Bank of America, N.A. v. SFR Invs.
                                   Pool 1, LLC, No. A-13-681936-C.;
                5
                                  Previously, SFR had questioned John Curcio, a former Fannie Mae employee, in July
                6                  2016 at the trial in SFR Invs. Pool 1 LLC v. Green Tree Servicing, No. A-13-691242-C.;
                7                 SFR examined Mr. Curcio again in August 2016 at the trial in Fannie Mae v. SFR Invs.
                                   Pool 1 LLC, No. A- 13-692633-C;
                8
                                  SFR also deposed Mr. Curcio in connection with a case in this District, Fannie Mae v.
                9                  SFR Invs. Pool 1, No. 2:14-cv-2046-JAD-PAL, in February 2016.
              10                  SFR has deposed Freddie Mac’s declarant Dean Meyer in five separate cases, most
                                   recently in November and December 2018: SFR Invs. Pool 1, LLC v. Bank of America,
              11                   N.A., No. A-14-696138-C; SFR Invs. Pool 1, LLC v. Bank of America, N.A., No. A-14-
                                   696561-C; M&T Bank v. SFR Invs. Pool 1, LLC, 2:17-cv-01867; SFR Invs. Pool 1, LLC
              12                   v. Washington Mutual Bank, FA, No. A-12-672769-C; and Ocwen Loan Servicing, LLC
                                   v. SFR Invs. Pool 1, LLC, 2:17-cv-01757.
              13                   In each of these cases, SFR questioned the Enterprise witness at length about the
              14          Enterprise business records, attempting to call into question their relevance, competence
              15          accuracy, and reliability. SFR has had plenty of opportunity to understand the evidence and test
              16          its theories about Enterprise evidence, but it has been unable to identify any material issues with
              17          the business records or declarant testimony that would prevent summary judgment. Indeed, had
              18          SFR identified any weakness in Enterprise business records, SFR would have raised such issues
              19          in matters before this Court and the Ninth Circuit. But SFR has never done that because its
              20          repeated examinations of Enterprise witnesses have confirmed only one thing—Enterprise
              21          business records are reliable, accurate, and highly probative of Enterprise ownership of real
              22          estate mortgage loans. So while SFR may argue that it is required and entitled to test the
              23          evidence in every case, the fact that SFR has questioned Enterprise witnesses at least 16 times
              24          and never found that the business records were inaccurate or unreliable is independently
              25          indicative that more depositions are simply disproportionate to these needs of this case.
              26

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                1         Accordingly, this Court should not provide SFR with another fishing expedition in light of its
                2         repeated opportunities to examine Enterprise witnesses about Enterprise business records.5
                3                            ii.   SFR Failed to Diligently Seek Discovery
                4                  The second factor a court looks to determine whether to grant Rule 56(d) relief is whether
                5         the moving party was diligent. Martinez, 533 F. App’x at 761 (citing Pfingston, 284 F.3d at
                6         1005).
                7                  SFR fails this factor. In July 2018, Plaintiffs informed SFR that they intended to move
                8         for summary judgment and stay discovery. (See ECF Nos. 56, 57.) Nevertheless, SFR again did
                9         not seek to depose any Enterprise witness until December 2018, more than two months after
              10          Plaintiffs filed their Motion for Summary Judgment on September 19, 2018. SFR may argue that
              11          it never had a chance to conduct deposition discovery before this point because it claims
              12          Plaintiffs “dumped thousands of documents—mainly consisting of [business records] . . . on
              13          SFR’s proverbial doorstep,” (ECF No. 132 at 2), just before filing the Motion for Summary
              14          Judgment. But this argument ignores wholesale the fact that SFR and its counsel are familiar
              15          with Enterprise business records having litigated dozens of materially identical cases. SFR knew
              16          what evidence the Plaintiffs would disclose and use to support the Motion for Summary
              17          Judgment, but nevertheless, did not seek depositions until many months later. Moreover, SFR
              18          issued a discovery request to which Plaintiffs responded by producing Enterprise business
              19          records for each of the properties at issue in this case. If SFR or its counsel had specific
              20          questions about the business records Plaintiffs produced, SFR could have issued interrogatories,
              21          but it did not. SFR and its counsel cannot explain away the absence of its diligence regarding
              22          discovery in light of their experience and awareness of Enterprise evidence in Federal
              23
                          5
              24                  Nor should the Court construe these repeated depositions as suggestive of a relatively
                          small burden on the Enterprises to prepare a witness. Unlike previous depositions that focused
              25          on ownership of a single property, the depositions here would focus on 83 properties, thereby
                          substantially increasing the burden on the Enterprises to prepare a witness. In addition,
              26          Enterprise corporate witnesses have full-time jobs at each Enterprise. Their jobs are critical to
                          the efficient operation of the Enterprises and time spent preparing for a deposition involving
              27          dozens of properties would necessarily have a detrimental impact on each witness’ professional
                          obligations. In any event, because the depositions seek disproportionate discovery entirely
              28          unnecessary based on Ninth Circuit authority, any burden on the Enterprises is excessive.
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                1         Foreclosure Bar litigation. Nor can SFR explain why it granted itself a four-month extension to
                2         respond to Motion for Summary Judgment without leave of this Court.
                3                   Given SFR’s familiarity with Enterprise business records and its experience litigating the
                4         Federal Foreclosure Bar, SFR was aware of the issues presented and knowledgeable about
                5         Enterprise business records. Any party in SFR’s position would have diligently sought
                6         depositions or issued specific interrogatories had it truly believed discovery was necessary. But
                7         SFR did not. Instead, it waited many months after Plaintiffs moved for summary judgment. This
                8         Court should find that such behavior lacks the diligence necessary to support Rule 56(d) relief.
                9                            iii.   SFR’s Evidentiary Theories Are Based on Metaphysical Doubt and
                                                    Speculation
              10

              11                   The third factor is whether the moving party’s discovery requests are based on
              12          speculation. Nordstrom, 54 F.3d at 1436-37.
              13                   This factor also weighs against SFR because it bases its Rule 56(d) request on mere
              14          speculation. As noted above, SFR has questioned Enterprise witnesses in trials and depositions
              15          at least 16 times in related Federal Foreclosure Bar litigation. Yet, despite SFR’s exhaustive
              16          investigation of Enterprise witnesses and analysis of Enterprise business records over the years,
              17          SFR has never identified any inaccuracy or reason to believe Enterprise business records are
              18          inaccurate. Indeed, SFR’s failure to identify inaccuracies in Enterprise business records aligns
              19          with Ninth Circuit authority; having reviewed and analyzed Enterprise business records in seven
              20          appeals, the Ninth Circuit has confirmed that Enterprise business records are “sufficient” to
              21          prove that an Enterprise owned a loan. See e.g., Williston, 736 F. App’x at 169. This Ninth
              22          Circuit holding recognizes that where business records are submitted, their “accuracy is assured
              23          because the maker of the record relies on the record in the ordinary course of business activities.”
              24          City of Long Beach, 46 F.3d at 937 (internal citation omitted) (emphasis added). Consequently,
              25          SFR does not ground its discovery requests on any articulable and objective belief that Enterprise
              26          business records are wrong. Instead, SFR merely speculates and hopes that a seventeenth
              27          examination of an Enterprise witness will reject what the Ninth Circuit has already held, chiefly
              28          that Enterprise business records are reliable with “assured” accuracy.
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                1                            iv.   SFR Fails to Identify Any Material Fact That Would Create a
                                                   Genuine Dispute to Preclude Summary Judgment
                2

                3                  The fourth factor for a court to consider—which is also a factor that SFR must show as
                4         part of its Rule 56(d) burden—is whether allowing additional discovery would preclude
                5         summary judgment. See Michelman, 685 F.3d at 892; Midbrook, 874 F.3d at 619-20. However,
                6         SFR has not identified any fact it wishes to discover that would have precluded this Court from
                7         awarding summary judgment in favor of Plaintiffs. Indeed, each fact SFR says warrants
                8         investigation is irrelevant, consistent with Enterprise ownership of each loan, or a
                9         mischaracterization of the record.
              10                   SFR first argues that “the beneficiaries of the deeds of trust did not even match up with
              11          the entity Plaintiffs claimed were acting as their servicers during the relevant time periods.”
              12          (ECF No. 132 at 2-3.) But even if this were true, it does not create a genuine dispute of any
              13          material fact. As Plaintiffs explained in their Motion for Summary Judgment, with respect to
              14          nine of the 83 Properties, servicing of the associated Loan was transferred from the beneficiary-
              15          of-record servicer (the “Transferor Servicer”) to a new servicer (the “Transferee Servicer”)
              16          before the HOA Sale, but an assignment of the deed of trust was not executed or recorded until
              17          after the HOA Sale was completed. Under the Guides for each Enterprise, Transferor Servicers
              18          are not released from their contractual obligations, thereby maintaining a contractual relationship
              19          with the Enterprises that preserve the Enterprises’ ownership of those Loans. (See ECF No. 66 at
              20          19 (Fannie Mae Guide Section A2-7-03 provides that a transferee servicer’s assumption of
              21          responsibilities “will in no way release the transferor servicer from its contractual obligations
              22          related to the transferred mortgage loans”); id. (Freddie Mac Guide Section 7101.15(a) provides
              23          similar obligations)). Thus, at the time of the HOA Sales, even though Enterprise business
              24          records listed a servicer different than the beneficiary of record of a deed of trust, that does not
              25          create a genuine dispute about whether an Enterprise had a property interest under Nevada law.
              26          As the Ninth Circuit and Nevada Supreme Court have explained, so long as the beneficiary of
              27          the deed of trust is in an appropriate contractual relationship with the loan owner, then the loan
              28          owner (i.e. the Enterprise), maintains its property interest. Berezovsky, 869 F.3d at 932; In re
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                1         Montierth, 354 P.3d 648, 650-51 (Nev. 2015).
                2                  Next, SFR claims that “several deeds of trust were never assigned and still listed
                3         Mortgage Electronic Registration Systems, Inc. (“MERS”) as the nominee beneficiary.” (ECF
                4         No. 132 at 3.) Again, this fact does not create a genuine dispute regarding an Enterprise’s
                5         ownership of loan. Instead, MERS’s presence as the beneficiary of record confirms an
                6         Enterprise’s property interest. The Ninth Circuit has noted that while “MERS, as the ‘nominee’
                7         of the lender and of any assignee of the lender, is designated . . . as the ‘beneficiary’ . . . under
                8         the deed of trust,” a “lender owns the home loan borrower’s . . . promissory note.” In re Mortg.
                9         Elec. Registration Sys., Inc., 754 F.3d 772, 776 (9th Cir. 2014) (emphasis added). The true
              10          owner of the loan is the lender, its successor, or its assignee—not MERS. See Cervantes v.
              11          Countrywide Home Loans, Inc., 656 F.3d 1034, 1039 (9th Cir. 2011).
              12                   And more importantly, on point authority from the Nevada Supreme Court confirms that
              13          where MERS appears as beneficiary of record, the loan owner maintains a property interest as a
              14          secured creditor. The Nevada Supreme Court in Montierth recognized that an entity which
              15          owned a loan was a secured creditor—meaning that it had a property interest in the collateral—
              16          while MERS, an entity with which it had an agency or contractual relationship, was record
              17          beneficiary of the deed of trust. See Montierth, 354 P.3d at 651 (citing Restatement § 5.4). The
              18          Restatement, which Montierth adopts, explains the relationship between “institutional purchasers
              19          of loans” and their authorized representatives, and states that when a servicer or nominee appears
              20          in the public records as beneficiary of a mortgage, “[i]t is clear in this situation that the owner of
              21          both the note and mortgage is the investor and not the servicer.” Restatement § 5.4 cmt. c.
              22                   The same is true here. As explained in Plaintiffs’ Motion for Summary Judgment, MERS
              23          appears as beneficiary of record in its capacity as a nominee for the Lender and the Lender’s
              24          successors and assigns, which in this case includes the Enterprises. (See ECF No. 66 at 10-12.)
              25          And as the nominee, MERS appears as each Enterprise’s contractually authorized representative
              26          in which the Guides and the MERS System Rules of Membership provide the terms of that
              27          relationship. See id.; Miller Decl. ¶ 7, Ex. B at B869-70, ECF No. 67; Meyer Decl. Ex. 1 at
              28          C111-13, ECF No. 68. And where MERS appears on behalf of an Enterprise, the Ninth Circuit
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                1         and the Nevada Supreme Court recognize that in such a situation the loan owner retains a
                2         property interest. Montierth, 354 P.3d at 650-51 (holding that a loan owner has a property
                3         interest where MERS appears as beneficiary of record); Elmer, 707 F. App’x at 428 (affirming
                4         summary judgment in Freddie Mac’s favor where MERS appeared as the nominee and
                5         beneficiary of record).
                6                  Finally, SFR’s contention that TBW’s appearance as a servicer in Freddie Mac’s business
                7         records for two of the properties fails to create a genuine dispute with regard to whether Freddie
                8         Mac had an interest in these properties. (ECF No. 132 at 3.) Indeed, SFR’s argument is built on
                9         its mischaracterization of Freddie Mac’s business records. Freddie Mac’s business records
              10          indicate that Ocwen Loan Servicing, LLC (“Ocwen”) was servicing the loan secured by the
              11          Brilliant Summit property as an “interim servicer,” and, for the Silver Brook Property, servicing
              12          had transferred from TBW to Nationstar. See Meyer Decl. ¶¶ 146-152, 216-222, ECF No. 168.
              13          Thus, Freddie Mac’s business records do not “defy reality” as SFR suggests, but instead the
              14          records accurately reflect that soon after TBW went out of business, its servicing responsibilities
              15          transferred to other entities. Nor can SFR do anything except convey its metaphysical doubt that
              16          TBW actually sold these loans to Freddie Mac. To the contrary, the admissible evidence
              17          supporting Plaintiffs’ Motion for Summary Judgment included Enterprise business records that
              18          the Ninth Circuit characterizes as “reliable and uncontroverted evidence” that the Enterprises
              19          owned each of the loans. Elmer, 707 F. App’x at 428 (emphasis added). Among other things,
              20          these records confirm that Enterprises received monthly reporting (and ,when appropriate,
              21          remittances) from the entities servicing these loans before, at the time of, and after the HOA
              22          Sales—which could not and would not have happened if the Enterprises did not own the loans.
              23          As a result, SFR’s metaphysical doubt whether the business records are sufficient to establish
              24          what they unambiguously show cannot justify its desired fishing expedition.
              25                   Accordingly, SFR has not met its burden to justify additional discovery through a Rule
              26          56(d) request and this Court should deny its Motion for Reconsideration.
              27          ///
              28          ///
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                1                                                  CONCLUSION
                2                  Plaintiffs respectfully request that this Court deny SFR’s Motion for Reconsideration.
                3         The Ninth Circuit is familiar with the evidentiary issues present in Federal Foreclosure Bar
                4         litigation and therefore is in a prime position to determine whether Rule 56(d) relief was
                5         warranted. Thus, the most efficient way forward is to deny SFR’s motion and let the Ninth
                6         Circuit ultimately decide whether Rule 56(d) relief is warranted in these types of cases.
                7                  DATED: June 20, 2019.
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                1                                              CERTIFICATE OF SERVICE
                2                  Pursuant to F.R.C.P. 5(b) and Electronic Filing Procedure IV(B), I certify that on June
                3         20, 2019, a true and correct copy of PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
                4
                          MOTION FOR RECONSIDERATION, was transmitted electronically through the Court’s e-
                5
                          filing electronic notice system to the attorney(s) associated with this case. If electronic notice is
                6
                          not indicated through the court’s e-filing system, then a true and correct paper copy of the
                7

                8         foregoing document was delivered via U.S. Mail.

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